     Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 1 of 28


 1   ROB BONTA, State Bar No. 202668                        PAUL B. MELLO, SBN 179755
     Attorney General of California                         SAMANTHA D. WOLFF, SBN 240280
 2   MONICA N. ANDERSON, State Bar No. 182970               KAYLEN KADOTANI, SBN 294114
     Senior Assistant Attorney General                      DAVID C. CASARRUBIAS, SBN 321994
 3   DAMON MCCLAIN, State Bar No. 209508                    CARSON R. NIELLO, SBN 329970
     Supervising Deputy Attorney General                    LAUREL E. O’CONNOR, SBN 305478
 4   ELISE OWENS THORN, State Bar No. 145931                HANSON BRIDGETT LLP
     NAMRATA KOTWANI, State Bar No. 308741                    1676 N. California Boulevard, Suite 620
 5   Deputy Attorneys General                                 Walnut Creek, CA 94596
      1300 I Street, Suite 125                                 Telephone: (925) 746-8460
 6    P.O. Box 944255                                          Fax: (925) 746-8490
      Sacramento, CA 94244-2550                                E-mail: PMello@hansonbridgett.com
 7    Telephone: (916) 210-7318                             Attorneys for Defendants
      Fax: (916) 324-5205
 8    E-mail: Elise.Thorn@doj.ca.gov
     Attorneys for Defendants
 9

10                             IN THE UNITED STATES DISTRICT COURT

11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                        SACRAMENTO DIVISION

13

14
     RALPH COLEMAN, et al.,                                2:90-cv-00520 KJM-DB (PC)
15
                                             Plaintiffs,   DEFENDANTS’ CENSUS, WAITLISTS,
16                                                         AND TRANSFER TIMELINES
                    v.                                     COMPLIANCE REPORTS FOR
17                                                         INPATIENT MENTAL HEALTH CARE

18   GAVIN NEWSOM, et al.,

19                                         Defendants.

20

21         Defendants California Department of Corrections and Rehabilitation (CDCR) and

22   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

23   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

24   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached are letters from

25   CDCR and DSH enclosing the following census and inpatient reports, as modified by the Court’s

26   May 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

27   (Exhibit A); (2) DSH Psychiatric Inpatient Timelines Compliance Report, Patients Admitted May

28   1 Through May 31, 2023 Who Waited Beyond Program Guide Timelines (Exhibit B); (3) CDCR
                                               1
                  Defs.’ Census, Waitlists, and Transfer Timelines Compliance Reports (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 2 of 28


 1   Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist Report as of May 22,

 2   2023 (Exhibit C); (4) CDCR Mental Health Crisis Bed Coleman Patient Census and Waitlist

 3   Report as of May 22, 2023 (Exhibit D); (5) Psychiatric Inpatient Programs Census Report as of

 4   5/22/23 (Exhibit E); and (6) CDCR Inpatient Program Referrals: Compliance with Program

 5   Guide Timeframes for Acute and Intermediate Referrals Admitted or Closed in May 2023

 6   (Exhibit F).

 7         The current compliance report at Exhibit F shows that of the 236 patients admitted to

 8   inpatient programs in May 2023, 41 patients transferred beyond Program Guide timelines without

 9   an exception. Of those 41 patients, 19 patients were admitted to APP beds 1-2 days beyond

10   Program Guide timelines; 17 were admitted to APP beds 3-4 days beyond Program Guide

11   timelines; 6 were admitted to an APP bed 5-6 days beyond Program Guide timelines; and 1 was

12   admitted to an APP bed 9 days beyond Program Guide timelines. As reflected in the attached

13   letter from CDCR, CDCR continues to monitor the inpatient transfer timelines and exceptions,

14   and will continue to review this information with the Special Master and with other stakeholders

15   in various settings.

16                                               CERTIFICATION
17         Defendants’ counsel certifies that she reviewed the following orders relevant to this filing:

18   ECF No. 5367 and ECF No. 5610.

19   //

20   //

21

22

23

24

25

26

27

28
                                                           2
                    Defs.’ Census, Waitlists, and Transfer Timelines Compliance Reports (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 3 of 28


 1    Dated: June 15, 2023                                   Respectfully submitted,

 2                                                           ROB BONTA
                                                             Attorney General of California
 3                                                           DAMON MCCLAIN
                                                             Supervising Deputy Attorney General
 4

 5                                                           /s/ Elise Owens Thorn
                                                             Elise Owens Thorn
 6                                                           Deputy Attorney General
                                                             Attorneys for Defendants
 7
                                                              HANSON BRIDGETT LLP
 8

 9                                                           /s/ Samantha D. Wolff
                                                              PAUL MELLO
10                                                            SAMANTHA D. WOLFF
                                                              Attorneys for Defendants
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       3
                Defs.’ Census, Waitlists, and Transfer Timelines Compliance Reports (2:90-cv-00520 KJM-DB (PC))
            Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 4 of 28
State of California – Department of State Hospitals                       Gavin Newsom, Governor
   Office of the Director
   1600 9th Street, Room 151
   Sacramento, California 95814
   www.dsh.ca.gov
                                                                                      nDSH
                                                                                        '"'J

     June 15, 2023

     Damon McClain, Esq.
     Elise Owens Thorn, Esq.
     California Department of Justice
     455 Golden Gate Avenue, Suite 11000
     San Francisco, CA 94102-5500

     Re:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
              COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

     Dear Mr. McClain and Ms. Thorn:

     The California Department of State Hospitals (DSH) submits its monthly information on
     patient census, referrals, waitlists, and transfer timeline compliance for inpatient mental
     health care.

     The DSH CDCR Patient Census and Waitlist Report—as of May 29, 2023—is attached as
     Exhibit A, and the DSH Psychiatric Inpatient Timelines Compliance Report, Patients
     Admitted May 1, 2023 through May 31, 2023 Who Waited Beyond Program Guide
     Timelines, is attached as Exhibit B. These reports are based on data from the DSH Bed
     Utilization Management Report.

     The report attached as Exhibit A reflects data collected at a single point in time and, as a
     result, should not be used for purposes outside of that report. The report attached as
     Exhibit B is the compliance report from DSH, which includes requested compliance data
     for all DSH level-of-care referrals admitted to inpatient care in May 2023, for any inmate-
     patient who waited beyond the timelines specified in the Mental Health Services Delivery
     System Program Guide (2009 Revision) at 12-1-16.




                                                                                                    19362599.2
      Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 5 of 28
June 15, 2023
Page Two

DSH records show that, as of May 31, 2023, there were no patients waiting beyond
Program Guide transfer timelines. Exhibit B shows that no patients were admitted to DSH
Intermediate Care in May 2023 beyond Program Guide transfer timelines. The
supplemental report on DSH’s pending waitlist, which was provided to the Special Master
and Plaintiffs via e-mail, also shows that no patients were admitted to DSH in May 2023
beyond Program Guide transfer timelines.

                                         Sincerely,

                                         /s/ Stephanie Clendenin
                                         STEPHANIE CLENDENIN
                                         Director
                                         Department of State Hospitals

                  “Caring Today for a Safe and Healthy Tomorrow”




                                                                                      19362599.2
Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 6 of 28




                     Exhibit A
State of California                                                                                                                                                                                                                                  GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING ANDCase
                                            IMPLEMENTATION
                                                  2:90-cv-00520-KJM-DB                                                     Document 7859 Filed 06/15/23 Page 7 of 28
Research Evaluation and Data Insights
1215 O Street
Sacramento, CA 95814
                                                                                                                                                                                                                                            nDSH
                                                                                                          DSH CDCR Patient Census and Waitlist Report
                                                                                                                          Data as of: 5/29/2023
                                                                                                                                                                                                                                                 '-l
Acute Care Patients
                                                                                                              Beds          Medical Isolation
     DSH Facility - Acute - Female       Bed Capacity             Census              Beds on Hold
                                                                                                   1
                                                                                                                                                    Available Beds                                   Waitlist                                  Total Patients
                                                                                                            Redlined2          Rooms3
                                                                                                                                                                                                                                             Awaiting Admission
                                                                                                                                                                        Referrals Pending                Accepted Referrals
                      Patton6                  -                      0                     0                   0                   0                     0                                                  4
                                                                                                                                                                             Review               CDCR Prison     I CDCR PIP5                           0
                       Total                   -                      0                     0                   0                   0                     0                      0                      0                         0       (Includes 0 Waiting >10 Days)
                                                                                                                                                                                                                     I
Intermediate Care Low Custody - Unlocked Dorms
                                                                                                              Beds          Medical Isolation
    DSH Facility - Unlocked Dorms        Bed Capacity             Census              Beds on Hold
                                                                                                   1
                                                                                                                                                    Available Beds                                   Waitlist                                  Total Patients
                                                                                                            Redlined2          Rooms3
                                                                                                                                                                                                                                             Awaiting Admission
                  Atascadero                  256                    61                     0                   0                   0                    195            Referrals Pending                   Accepted Referrals
                      Coalinga                 50                    36                     0                   0                   0                     14                 Review               CDCR Prison
                                                                                                                                                                                                                4
                                                                                                                                                                                                                              CDCR PIP5                13

                       Total                  306                    97                     0                   0                   0                    209                     7                      2                         4       (Includes 0 Waiting >30 Days)



Intermediate Care Low Custody - Unlocked Dorms - Female

 DSH Facility - Unlocked Dorms -                                                                              Beds          Medical Isolation
                                         Bed Capacity             Census              Beds on Hold
                                                                                                   1
                                                                                                                                                    Available Beds                                   Waitlist                                  Total Patients
             Female                                                                                         Redlined2          Rooms3
                                                                                                                                                                                                                                             Awaiting Admission
                                                                                                                                                                        Referrals Pending                Accepted Referrals
                      Patton6                  30                    10                     0                   0                   0                     20
                                                                                                                                                                             Review               CDCR Prison4    I CDCR PIP5                           1
                       Total                   30                    10                     0                   0                   0                     20                     1                      0                         0       (Includes 0 Waiting >30 Days)
                                                                                                                                                                                                                     I
1
  Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients to
maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
2
  Redlined beds are temporarily unavailable due to repairs.
3
  Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
5
    Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
6
    Beds at DSH-P are for female patients only.




                                                                                                                                   1 of 1
Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 8 of 28




                     Exhibit B
State of California                                                                                                                                                                                            GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING
                                    CaseAND IMPLEMENTATION
                                          2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 9 of 28
Research Evaluation and Data Insights
1215 O Street
Sacramento, CA 95814
                                                                                                                                                                                                         nDSH
                                                                                 DSH Psychiatric Inpatient Timelines Compliance Report
                                                                                                                                                                                                             '-l
                                                                  Patients Admitted May 1 through May 31, 2023 Who Waited Beyond Program Guide Timelines


                                        Level of Care                                     Patients Waiting Outside Program Guide Timelines3                              Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                          0                                                                         0
                                          Subtotal                                                                  0                                                                         0
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                            0                                                                         0
               Exceptions to Program Guide Timelines - Internal Referrals2                                          0                                                                         0
               Total Excluding Exceptions to Program Guide Timelines                                                0                                                                         0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH.
3
 Including patients admitted who waited greater than 30 days from the referral received date to DSH for a change in level of care.
4
 Includes the total number of days admitted patients waited beyond 30 days from the referral received date to DSH for a change in level of care.




                                                                                                                 1 of 2
State of California                                                                                                                                                                           GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
                                      Case   2:90-cv-00520-KJM-DB                               Document 7859 Filed 06/15/23 Page 10 of 28
Research Evaluation and Data Insights
1215 O Street
Sacramento, CA 95814
                                                                                                                                                                                                  nDSH
                                                                                                                                                                                                    ~
                                                                          DSH Psychiatric Inpatient Timelines Compliance Report
                                                           Patients Admitted May 1 through May 31, 2023 Who Waited Beyond Program Guide Timelines
Patients Admitted to Intermediate Care
                                                                                         Number of Days
                                                                                                                                                        Total Days Waited
                                                   CDCR Direct/       Total Days on            Waited
                      Name               CDCR #                                                               Total Days on Hold       Exclusion Days       Excluding       Exception Reason(s)
                                                   DSH Internal          Waitlist        Beyond Program
                                                                                                                                                           Exceptions
                                                                                         Guide Timelines
                                                                                  No patients admitted with wait times exceeding 30 days
  Total Number of Patients Waiting                Total Number of
                                           0                               0                    0                     0                     0                  0                     -
           Over 30 Days                           Days All Patients




                                                                                                         2 of 2
               Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                            11 of 28
                                                                        GAVIN NEWSOM, GOVERNOR

DIVISION OF HEALTH CARE SERVICES
BrAlEWIIE IEHl"AL IEAl.1H PRIICllWII
P.O. Box 588500
Elk Grove, CA 95758




                                                           June 15, 2023

         Damon McClain, Esq.
         Elise Owens Thorn, Esq.
         California Department of Justice
         455 Golden Gate Avenue, Suite 11000
         San Francisco, CA 94102-5500

         RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                  COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE
                  Dear Mr. McClain and Ms. Thorn:
                The California Department of Corrections and Rehabilitation (CDCR) submits its monthly
         information on patient census, referrals, waitlists, and transfer timeline compliance for inpatient
         mental health care.

                 The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
         Report, as of May 22, 2023, is attached as Exhibit C, the CDCR Mental Health Crisis Bed Coleman
         Patient Census and Waitlist Report, as of May 22, 2023, is attached as Exhibit D, the Psychiatric
         Inpatient Programs Census Report, as of May 22, 2023, is attached as Exhibit E, and the CDCR
         Inpatient Program Referrals: Compliance with Program Guide Timeframes for Acute and
         Intermediate Referrals Admitted or Closed in May 2023 is attached as Exhibit F. These reports are
         generated using data from CDCR’s tracking software and the Referrals to Inpatient Programs
         Application.

                 The reports attached as Exhibits C and D reflect data collected at a single point in time
         and, as a result, should not be used for purposes outside of those reports.

                 The reports attached as Exhibit F are compliance reports from CDCR, which include
         requested compliance data for all referrals admitted to inpatient care in May 2023, and the
         identification of inmate-patients who waited beyond the timelines specified in the Mental Health
         Services Delivery System Program Guide (2009 Revision) at 12-1-16. Exhibit F identifies those
         patients who transferred to an inpatient program beyond Program Guide timelines.

                 Since January 27, 2022, CDCR has been safely reopening the units in the California
         Health Care Facility’s (CHCF) PIP. CHCF PIP reopened 23 beds for APP use in May (15 on
         May 8th and 8 on May 26th). The PIP is now operating at 75% capacity, with 383 of 514 beds
         available for use. Also, as I have indicated in my regular reports to the Court, the California
         Medical Facility’s (CMF) PIP is operating with beds offline. As of May 31, 2023, the CMF PIP
         was operating at 88% capacity with 347 of 396 beds available (eight beds were previously
         offline in the locked dorms for social distancing and remain offline due to staffing; on October
         27, 2022, 16 beds in the ICF standalone unit, previously offline for a retrofit project, were
         designated as COVID-19 isolation cells due to additional COVID-19 cases in the PIP and now
         remain offline due to staffing, 16 additional cells are offline for COVID-19 quarantine; and nine

                                                                                                             19362527.2
    Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 12 of 28
June 15, 2023
Page 2

APP beds are offline due to staffing. CMF also began to cease admissions to 15 beds in their
APP unit on P-2 beginning May 12, 2023, also due to staffing

        While CDCR continues its work to address the effects of COVID-19 and to improve its
bed capacity in the PIPs, it will continue to closely monitor inpatient referrals and admissions,
and track all exceptions in detail and review this information with the Special Master in
workgroups and with other stakeholders in various settings.
Sincerely,

/s/ Amar Mehta
AMAR MEHTA, M.D.
Deputy Director
Statewide Mental Health Program




                                                                                                    19362527.2
Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 13 of 28




                     Exhibit C
                                                                                          COCR Psychiatric Inpatie nt Programs (PIP)
                                                            Case        2:90-cv-00520-KJM-DBPatient
                                                                                       Coleman        Census and7859
                                                                                                 Document           Waitlist Re port as06/15/23
                                                                                                                              Filed    of                                                Page 14 of 28
                                                                                                                               May 22, 2023

                                                                                                                                   Medical
                                                                          Bed                            Beds          Beds                     Available                                                                                         Total Intermediate
   MALE INTERMEDIATE LOCKED DORM                                                       Census                                      Isolation                  Pendinc           Accepted
                                                                       Capacity                       Reserved       Redlined                     Beds                                            Total Waitlist                                  Referrals Waitinc
                                                                                                                                    Rooms                     Referrals         Referrals
                                                                                                                                                                                                                                                       >30 Days
   California Medical Facility (CMF}                                       64             25               1              0            0            38
   Total                                                                   64             25               1              0            0            38            1                  0                   1                                                  0


                                                                                                                                   Medical
                                                                          Bed                            Beds          Beds                     Available
   MALE INTERMEDIATE HIGH CUSTODY                                                      Census                                      Isolation
                                                                       Capacity                       Reserved       Redlined                     Beds
                                                                                                                                    Rooms
                                                                                                                                                                                                                                                  Total Intermediate
   California Health Care Facility (CHCF} Sing le Cell                    330            252               3              0            11           64        Pendinc           Accepted
                                                                                                                                                                                                  Total Waitlist                                  Referrals Waitinc
   CMF Multi Cell                                                          20             16               0              0            0             4        Referrals         Referrals
                                                                                                                                                                                                                                                       >30Days
   CMF Single Cell                                                         62             30               1              0            0            31
   Salinas Valley State Priso n (SVSP} M ulti Cell                         44             29               0              0            0            15
   SVSP Sine:le Ce ll                                                     202            190               3              0            0            9
   Total                                                                  658            517               7             0             11          123            49                 2                   51                                                 0


                                                                                                                                   Medical
   MALE FLEX ACUTE PSYCHIATRIC PROGRAM &                                  Bed                            Beds          Beds                     Available
                                                                                       Census                                      Isolation
   INTERMEDIATE CARE FACILITY                                          Capacity                       Reserved       Redlined                     Beds
                                                                                                                                    Rooms
                                                                                                                                                                                                                                                  Total Intermediate
   CHCF                                                                   202            94                9              0            5            94        Pendinc           Accepted                            Total Acute Referrals
                                                                                                                                                                                                  Total Waitlist                                  Referrals Waitinc
   CMF                                                                    250            229               5              0            0            16        Referrals         Referrals                             Waitinc > 10 Days
                                                                                                                                                                                                                                                       >30 Days
   San Quentin (SQ) Condemned                                             40             25                0              0            0            15
   SQ Non-Condemned                                                        0              12               0              0            0           -12
   California Men's Colony                                                12              10               0              0            0             2
   Total                                                                  504            370              14              0            5           115            32                 3                   35                     2                           0


                                                                                                                                   Medical
                                                                          Bed                            Beds          Beds                     Available                                                                                         Total Intermediate
   FEMALE HIGH CUSTODY                                                                 Census                                      Isolation                  Pendinc           Accepted                            Total Acute Referrals
                                                                       Capacity                       Reserved       Redlined                     Beds                                            Total Waitlist                                  Referrals Waitinc
                                                                                                                                    Rooms                     Referrals         Referrals                             Waitinc > 10 Days
                                                                                                                                                                                                                                                       >30Days
   California Institution for Women                                        45             39               2              0            0             4



                                                                                                        ... ...
   Total                                                                  45              39               2              0            0             4            5                  1                   6                      0                           0




   I                 GRAND TOTAIS -ALL PIPs
                                                                          Bed
                                                                       Capacity

                                                                         1271
                                                                                       Census

                                                                                         951
                                                                                                      Reserwd
                                                                                                          24
                                                                                                                     lladlined
                                                                                                                          0
                                                                                                                                   Mecllcal
                                                                                                                                   lsalatian
                                                                                                                                    '-
                                                                                                                                       16
                                                                                                                                                  ... .....
                                                                                                                                                Available


                                                                                                                                                   280
                                                                                                                                                              ........
                                                                                                                                                                  87
                                                                                                                                                                                Oaa ■pted
                                                                                                                                                                                ..r.m.is
                                                                                                                                                                                     6
                                                                                                                                                                                                  Total Wllitlist

                                                                                                                                                                                                         91
                                                                                                                                                                                                                    Total Aaute Refltrnll
                                                                                                                                                                                                                     Wallins> 10 Days
                                                                                                                                                                                                                                2
                                                                                                                                                                                                                                                 Total lntenn•ilda
                                                                                                                                                                                                                                                  Refanals Wail:lns
                                                                                                                                                                                                                                                       >SODavs
                                                                                                                                                                                                                                                          0

   1
       Beds Reserved - Beds held or endorsed t o by t he Health Care Placement Oversight Program (HCPOP) for a specific pat ient requirin g APP or ICF level of care. The referra l is either pend ing clinica l acceptance by th e PIP or the patient is
   pend ing transfer to th e PIP.
   2   Beds Red lin ed - Beds are temporarily unavailab le for patient placement du e t o repairs or single cell status (if a two-man cell) .
   3   Medica l Isolation Rooms - Rooms are requ ired for licensi ng and physically differ from the other housing cells in the program, i.e ., have showers or restricted sightl ines into the cell, and are deemed inapp ropriate fo r everyday use.
   4   Pend ing Referrals- Inclu des all referra ls received by t he Menta l Health Inpa t ient Referrals Unit (new inpatient referral, level of care t ransfers, least rest rict ive housing tran sfers) t hat are pend ing a clin ical ref erral review, least
   restrictive housing determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
   • Accepted Referrals - Includes all referrals t hat have been endorsed t o a bed, have been accepted by the inpatient program, and are awaiting transfer.


   *There are 2 APP ref errals, waiting greater than 10 days, with no exceptions pending.




Data Source: Referra ls to Inpatient Programs Application {RIPA}                                                                                                                                              CCHCS, Corrections Services, Compliance       & Reporting Unit
Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 15 of 28




                     Exhibit D
          Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 16 of 285/22/2023
                                                                       Monday,
                                                                                                                           Time: 04:30 PM


                                    PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 5/22/2023


                      Facility                        Bed Capacity                                Beds Occupied
                                                            Male Flex Programs
                  PIP - California Medical Facility       250         No Score:                                                 3
                                                                      Level I:                                                  12
                                                                      Level II:                                                 56
                                                                      Level III:                                                25
                                                                      Level IV:                                                103
                                                                      Total APP Census:                                        199
                                                                      No Score:                                                 0
                                                                      Level I:                                                  2
                                                                      Level II:                                                 13
                                                                      Level III:                                                0
                                                                      Level IV:                                                 15
                                                                      Total ICF Census:                                         30
                                                                      Total ICF out of LRH:                                     15
                                                                      Total APP/ICF Census:                                    229
              PIP - California Health Care Facility       202         No Score:                                                 2
                                                                      Level I:                                                  6
                                                                      Level II:                                                 18
                                                                      Level III:                                                9
                                                                      Level IV:                                                 59
                                                                      Total APP Census:                                         94
                                                                      No Score:                                                 0
                                                                      Level I:                                                  0
                                                                      Level II:                                                 0
                                                                      Level III:                                                0
                                                                      Level IV:                                                 0
                                                                      Total ICF Census:                                         0
                                                                      Total ICF out of LRH:                                     0
                                                                      Total APP/ICF Census:                                     94
                                 PIP-San Quentin          40          No Score:                                                 0
                                     Condemned                        Level I:                                                  0
                                                                      Level II:                                                 0
                                                                      Level III:                                                0
                                                                      Level IV:                                                 2
                                                                      Total APP Census:                                         2
                                                                      No Score:                                                 0
                                                                      Level I:                                                  0
                                                                      Level II:                                                 0
                                                                      Level III:                                                0
                                                                      Level IV:                                                 23
                                                                      Total ICF Census:                                         23
                                                                      Total APP/ICF Census:                                     25


                                                                                   CCHCS, Corrections Services, Compliance & Reporting Unit
Page 1 of 4                                                                               Referrals to Inpatient Programs Application (RIPA)
          Case 2:90-cv-00520-KJM-DB
               Facility               Document 7859 Filed 06/15/23
                                  Bed Capacity                        Page 17 of 28
                                                             Beds Occupied
                            PIP-San Quentin          N/A          No Score:                                                 1
                           Non-Condemned                          Level I:                                                  0
                                                                  Level II:                                                 0
                                                                  Level III:                                                2
                                                                  Level IV:                                                 9
                                                                  Total APP Census:                                         12
                                                                  No Score:                                                 0
                                                                  Level I:                                                  0
                                                                  Level II:                                                 0
                                                                  Level III:                                                0
                                                                  Level IV:                                                 0
                                                                  Total ICF Census:                                         0
                                                                  Total ICF out of LRH:                                     0
                                                                  Total APP/ICF Census:                                     12
                 PIP-California Men's Colony          12          No Score:                                                 2
                                                                  Level I:                                                  0
                                                                  Level II:                                                 4
                                                                  Level III:                                                0
                                                                  Level IV:                                                 4
                                                                  Total APP Census:                                         10
                                                                  No Score:                                                 0
                                                                  Level I:                                                  0
                                                                  Level II:                                                 0
                                                                  Level III:                                                0
                                                                  Level IV:                                                 0
                                                                  Total ICF Census:                                         0
                                                                  Total ICF out of LRH:                                     0
                                                                  Total APP/ICF Census:                                     10
     Totals for Male Acute/Intermediate              504                                                                   370
                                      Male Intermediate Care Facility (High Custody) Programs
               California Health Care Facility       330          No Score:                                                 2
                                   Single Cell                    Level I:                                                  7
                                                                  Level II:                                                 44
                                                                  Level III:                                                24
                                                                  Level IV:                                                175
                                                                  Total Census:                                            252
                                                                  Total out of LRH:                                         97
                   California Medical Facility        62          No Score:                                                 0
                                   Single Cell                    Level I:                                                  2
                                                                  Level II:                                                 2
                                                                  Level III:                                                5
                                                                  Level IV:                                                 21
                                                                  Total Census:                                             30
                                                                  Total out of LRH:                                         8




                                                                               CCHCS, Corrections Services, Compliance & Reporting Unit
Page 2 of 4                                                                           Referrals to Inpatient Programs Application (RIPA)
          Case 2:90-cv-00520-KJM-DB
               Facility               Document 7859 Filed 06/15/23
                                  Bed Capacity                        Page 18 of 28
                                                             Beds Occupied
                    California Medical Facility        20          No Score:                                                 0
                            Multi Person Cells                     Level I:                                                  1
                                                                   Level II:                                                 4
                                                                   Level III:                                                1
                                                                   Level IV:                                                 10
                                                                   Total Census:                                             16
                                                                   Total out of LRH:                                         13
                                Salinas Valley        202          No Score:                                                 4
                                    Single Cell                    Level I:                                                  3
                                                                   Level II:                                                 32
                                                                   Level III:                                                19
                                                                   Level IV:                                                132
                                                                   Total Census:                                            190
                                                                   PC 1370:                                                  7
                                                                   WIC 7301:                                                 1
                                                                   Total out of LRH:                                         79
                                Salinas Valley         44          No Score:                                                 1
                           Multi-person Cells                      Level I:                                                  0
                                                                   Level II:                                                 9
                                                                   Level III:                                                3
                                                                   Level IV:                                                 16
                                                                   Total Census:                                             29
                                                                   PC 1370:                                                  0
                                                                   WIC 7301:                                                 0
                                                                   Total out of LRH:                                         23
       Totals for Male ICF High Custody               658                                                                   517
                                       Male Intermediate Care Facility (Low Custody) Programs
                    California Medical Facility        64          No Score:                                                 0
                                        Dorms                      Level I:                                                  0
                                                                   Level II:                                                 13
                                                                   Level III:                                                5
                                                                   Level IV:                                                 7
                                                                   Total Census:                                             25
                                                                   Total out of LRH:                                         13
                             DSH-Atascadero           256          No Score:                                                 0
                                                                   Level I:                                                  4
                                                                   Level II:                                                 34
                                                                   Level III:                                                7
                                                                   Level IV:                                                 12
                                                                   Total Census:                                             57
                                DSH-Coalinga           50          No Score:                                                 0
                                                                   Level I:                                                  1
                                                                   Level II:                                                 29
                                                                   Level III:                                                2
                                                                   Level IV:                                                 2
                                                                   Total Census:                                             34
       Totals for Male ICF Low Custody                370                                                                   116


                                                                                CCHCS, Corrections Services, Compliance & Reporting Unit
Page 3 of 4                                                                            Referrals to Inpatient Programs Application (RIPA)
          Case 2:90-cv-00520-KJM-DB
               Facility               Document 7859 Filed 06/15/23
                                  Bed Capacity                        Page 19 of 28
                                                             Beds Occupied
                                                           Female Programs
                                  DSH-Patton          30           No Score:                                                 0
                                                                   Level I:                                                  0
                                                                   Level II:                                                 0
                                                                   Level III:                                                0
                                                                   Level IV:                                                 0
                                                                   Total APP Census:                                         0
                                                                   No Score:                                                 0
                                                                   Level I:                                                  3
                                                                   Level II:                                                 5
                                                                   Level III:                                                0
                                                                   Level IV:                                                 1
                                                                   Total ICF Census:                                         9
                                                                   Total APP/ICF Census Census:                              9
          PIP-California Institution for Women        45           No Score:                                                 0
                                                                   Level I:                                                  0
                                                                   Level II:                                                 2
                                                                   Level III:                                                0
                                                                   Level IV:                                                 0
                                                                   Total APP Census:                                         2
                                                                   No Score:                                                 3
                                                                   Level I:                                                  8
                                                                   Level II:                                                 11
                                                                   Level III:                                                6
                                                                   Level IV:                                                 9
                                                                   Total ICF Census:                                         37
                                                                   Total ICF out of LRH:                                     9
                                                                   Total APP/ICF Census Census:                              39
    Totals for Female Acute/Intermediate              75                                                                     48
                                   Total Inpatient Program Capacity and Census - Male and Female
               GRAND TOTALS                          1607                                                                   1051



♦ Beds Occupied: For each program, identify the total number of patients in the program and the total each
custody level, i.e., Level I-IV. Level 1 has placement score of 0-18; Level II 19 through 35; Level III 36-59; and
Level IV 60 and above. Patients with "no score" have not completed Reception Center Processing. PC 1370
inmates are considered incompetent to stand trial and do not have a concurrent ICF referral. WIC 7301 also
do not have concurrent ICF referral and are too dangerous for a State Hospital facility -- enhanced
custody/security needs of a patient can best be met in a CDCR Institution.
♦ DSH-Atascadero: The full complement of beds at DSH-Atascadero are reflected under the Intermediate Low-
Custody bed capacity. The Acute census includes patients admitted for Acute care at DSH-Atascadero after an
individualized review of patient's clinical need, bed availability, patient's least restrictive housing designation,
and patient's likelihood of stepping down to Intermediate care at DSH-Atascadero or DSH-Coalinga upon the
determination by the treatment team of clinical appropriateness for discharge from Acute Care.
♦ Total Out of LRH (Least Restrictive Housing): Least Restrictive Housing (LRH) is determined by CDCR. The
numbers of patients identified as out of LRH for High Custody Programs include those whose LRH is for Multi-
person Cells.


                                                                                CCHCS, Corrections Services, Compliance & Reporting Unit
Page 4 of 4                                                                            Referrals to Inpatient Programs Application (RIPA)
Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 20 of 28




                      Exhibit E
                              Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 21 of 28

                                                    CDCR Mental Health Crisis Bed
                                            Coleman Patient Census and Waitlist Report as of
                                                             May 22, 2023


                                                                                                                              Total Pending
     CDCR MHCB                                                     Beds     Available   Total Pending
                       Bed Capacity            Census                                                    Beds Assigned          Referrals
      Programs                                                   Redlined     Beds        Referrals
                                                                                                                               > 24 hours
 Male Programs              377                  273               36          68            19                16                   0
 Female Programs            41                   21                 0          20             1                1                    0
             Totals         418                  294               36          88            20                17                   0




Data Source: HCPOP Endorsements and Referrals Tracking (HEART)                            CCHCS, Corrections Services, Compliance & Reporting Unit
Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 22 of 28




                      Exhibit F
                                  Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 23 of 28

                                                    CDCR INPATIENT PROGRAM REFERRALS:
                               COMPLIANCE WITH PROGRAM GUIDE TIMEFRAMES FOR ACUTE AND INTERMEDIATE REFERRALS
                                                      ADMITTED OR CLOSED IN MAY 2023


                                                           Patients        Patients     Referrals Resulting
                                                                                                             Exceptions to
       CDCRIDTT                      Total             Admitted Within Admitted Outside     in Rescind,
                                                                                                            Program Guide
      Referral Type                 Referrals           Program Guide   Program Guide      Rejection, or
                                                                                                            Timeframes 121
                                                        Timeframes 111   Timeframes      Parole/Discharge

   Intermediate (ICF)                  146                        123          3                    20                   2
      Acute (APP)                      115                        69          41                    5                    1
         TOTALS                        261                        192         44                    25                   3




[1] Program Guide timeframes: Transfer within 30 days of referral for ICF, or within 10 days of referral for APP. Timeline begins when the completed referral is
received by the Mental Health Inpatient Referrals Unit (MH IRU) .
[2] Exceptions to the Program Guide timeframes in this report include: medical concerns and those referred that are on out-to-court status, out-to-hospital status,
on medical or Vitek holds and/or operational approved circumstances.




Data Source: Referrals to Inpatient Programs Application (RIPA)                                                CCHCS, Corrections Services, Compliance & Reporting Unit
                                                             DETAIL OF APP OUT OF COMPLIANCE
                  Case 2:90-cv-00520-KJM-DB Document
                                                MAY 2023 7859 Filed 06/15/23 Page 24 of 28

                                                                                                               ,,,                                                                             ,,,
                                                                                                          ,,
APP        SAC                                                             4/19/2023              Acute/ preliminary Single Cell          04/19/2023          PIP APP: CHCF           04/19/2023 16:17 00
APP
APP
           SAC
           SAC                                     4/20/2023
                                                                           4/19/2023
                                                                           4/20/2023
                                                                                                  Acute/ preliminary Single Cell
                                                                                             Ac~ inary Unlocked D~                      ----"------
                                                                                                                                          04/19/2023
                                                                                                                                          04/20/2023
                                                                                                                                                              PIP APP: CHCF
                                                                                                                                                               PI PAPP: VPP
                                                                                                                                                                                      04/19/2023 16:14 00
                                                                                                                                                                                      04/20/2023 14:58 00
APP        LAC                                     4/20/2023               4/20/2023            Acute/ p reliminary_2i!'_gle C!'II    _ _0_4@/202_3 - -     !!!'..~£1:!£              04/20/2023 16:31 00
APP        RJD                               3    4/20/2023                4/20/2023     ~     ute / preliminary Unlocked D~              04/20/~             PIP APP: CHCF           ~/20/2023 08:52 00_ _
           COR                                   --4/21/2023
                                                          --               4/21/2023            Acute/ preliminary Single Cell            04/21/2023           PIP APP: VPP
                                                      4/24/2023            4/24/2023            Acute/ preliminary Single Cell            04/24/2023

                   -■---..;,;,==----'='-=    ----:~,!-~
                                                      :~,.~-~-=-----.-c:-~--------~'- --~-
                                                                           4/25/2023
                                                                           4/25/2023         Acute / preliminary U nlock.ed Dorms
                                                                                                                                          04/25/2023
                                                                                                                          ·- - - - - - - ~ ' - ' ' - - - - - -P-IP_A_P_P·-. VP
                                                                                                                                          04/25/2023
                                                                                                                                                                            - P- - - -04
                                                                                                                                                                                       -"/' -2-5~/2_0_23_ 10- :4
                                                                                                                                                                                                               _ 8_ 00
                                                                                                                                                                                                                    __
APP       CMF                                         4/25/2023            4/25/2023          Acute / prel im inary Locked Dorms          04/25/2023          PIP APP: CHCF           04/25/2023 15:53 00
APP       CMC                                         4/26/2023            4/26/2023           Acute / preliminary SinJle ~               04/26/2023          PIP APP: CHCF           04/26/2023 10:34 00
APP       CMF                                         4/26/2023            4/26/2023         Acute / preliminary U nlock.ed Dorms         04/26/2023                                  04/26/2023 10:55 00
APP       SATF                                        4/26/2023            4/26/2023         Acute / preliminary U nlcx:ked Dorms         04/26/2023                                  04/26/2023 10:47 00
APP       SATF                           ~- - - - - ~4/~26/2023            4/26/2023       __Acute,Lprelimina~ocked Dorms                 04/26/2023                                  04/26/2023 10:41 00
APP       WSP                                        4/26/2023             426/2023           Acute / preliminary Locked Dorms        - -0-5/0 5/2023         PIP APP: CHCF           05/05/2023 10:52 00
APP       NKSP             MHCB      4/26/2023       4/26/2023             4/26/2023          Acute/ preliminary locked Dorms             05/05/2023            PIP APP: SQ
APP       SATF             MHCB      4/24/2023       4/27/2023             4/27/2023            Acute / preliminary Single Cell           04/27/2023          PIP APP: CHCF
APP       KVSP             MHCB      4/26/2023       4/27                  4/27/2023            Acute/ pre liminary Single Cell           04/27/2023
APP        LAC             MHCB      4/20/2023       4/27                  4/27/2023           Acute/ relimina Single Cell                04 27 2023
APP       KVSP             MHCB      4/26/2023        4/28/2023            4/28/2023              Acute/ preliminary Single Cell              04/28/2023             PIP APP: CHCF          04/28/2023 16:09 00

APP        RJD                     4/27/2023     4/28/2023                 4/28/2023                                                                                  PIP APP: VPP   _ _ 04                   00
APP       MCSP                     4/28/2023     4/28/2023                 4/2~/2023                                                                                  PIP APP: VPP       04                   00
APP                        MHCB   __5/2/2023      5j2/20_2_3_ __            5/2/2023                                                                                  PIP APP: VPP       O'y!!2/2023    l~:18 ~
APP       SAC              MHCB     5/2/ 2023     5/2/2023                  5/2/2023_ _ _   Acute / preliminary Unlocked Dorms                                       PIP APP: CHCF       05/02/2023     12:21 00
APP       SATF             MHCB     5/1/2023      5/3/2023                  5/3/2023          Acute/ preliminary Single Cell                                         PIP APP: CHCF       05/04/2023     08:16 00
APP       KVSP             MHCB     5/3/2023      5/ 4/2023                5/4/2023         Acute/ preliminary Unlocked Dorms                                        PIP APP: CMC        05/04/2023     14:40 00
APP       CIM              MHCB    4/27/2023      5/4/2023                5 /4/2023           Acute/ preliminary Single Cell                  05/04/2023              PIP APP: VPP       05/04/2023     16:03 00
APP        RJD             MHCB




                 --
                                    5/4/2023      5/4/2023                  5/4/2023          Acute/ preliminary Single Cell                  05/05/2023             PIP APP: CMC        05/05/2023     06:19 00
APP       CIM                     ~ /20~        --5/4/2023                                    Acute_j preliminary 2!ng.l!,c;i1
                                                                            5/4/2023 _ __ _ _ _                                          ~      /04/~                 PIP APP:-VP~      0 5'fo,./2023   16:1'!2J_ _
APP                                5/10/20-23- - 5/11/2023                 5/11/2023          Acute/ preliminary Single Cell                  05/12/2023              PIP APP: VPP       05/12/2023     08:09 00
                                                                           5 /ll/20 23        Acute/ preliminary Single Cell                  05/15/2023              PIP APP: VPP       05/11/2023     14:45 00
APP        SAC             MHCB      5/11/2023        5/11/2023
                                                                                           Ac_ute Jpreliminary Single Cel_l _ __
                                                                                        ____                                                  05/:!312!!!]__          PIP APP: VPP       05/2~2023      1,021 00
-
APP
   - - - -SATF                            023         5/11/2023            5/11/2023              Acute/ preliminary Single Cell              05/11/2023              PIP APP: VPP
APP       CMF                                                                                     Acute/ pre liminary Single Cell             05/22/2023             PIP APP: CHCF
APP       WSP                                                                                                                               05/23/2023           PIP_ A
                                                                                                                                                                      _ P_P_: ~VP-'P- - - - ~ -~ ,- - ~ - - -
APP       CMF                                                                                                                          - - -0-5/16/202_3 _ _ - - -
                                                                                                                                                                 PIP APP: VPP
APP       CHCF                                                                                 Acute/ preliminary Unlocked Dorms              05/16/2023             PIP APP: CHCF          05/16/2023 11:11 00
                                                                                               Acute / preliminary Unlocked Dorms             05/16/2023             PIP APP: CHCF          05/16/2023 13:01 00
                                                                                               Acute/ e reliminary Unlocked Dorms             05/18/2023             PIP APP: CHCF          05/18/2023 15:13 00
                                                                                               Acute / prelim inary U nlock.ed Dorms          05[18/2023             PIP APP: CHCF          05 18/2023 15:31 00
APP                        MHCB      5j~/2023                              5/19/2023              Acute/ preliminary Single Cell              05~/2023               PIP APP: CHCF          05/19/2023 17:22 00
APP       CMF              MHCB      5/19/2023                             5/19/2023           Acute/ preliminary Unlocked Dorms              05/19/2023              PIP APP: VPP          05/19/2023 16:54 00
                                                                                             DETAIL OF APP OUT OF COMPLIANCE
                                         Case 2:90-cv-00520-KJM-DB Document
                                                                       MAY 2023 7859 Filed 06/15/23 Page 25 of 28
                                                                                                                                                                                              Days from        Within     Days over
   HCPOP              HCPOP            Accepting      Date Placed
                                                                                                         Inpatient Program                       Comments for                      Referral   Referral to     Program      Program
Endorsement        Endorsement         Inpatient      on Accepted      Inpatient Program Admitted
                                                                                                          Admit Date/Time                      DELAY/EXCEPTION                      Status    MH IRU and       Guide        Guide
  Location          Date/Time          Program        Referrals List
                                                                                                                                                                                              Admission     Timeframes   Timeframes
PIP APP: CHCF   04/27/2023 11:10 00   PIP APP: CHCF    05/04/2023            PIP APP: CHCF              05/05/2023 12 02 00                                                        Admitted       16             N            6
 PIP APP: VPP   04/27/2023 12:17 00    PIP APP: VPP    04/28/2023             PIP APP: VPP              05/01/2023 15:47 00                                                        Admitted       12             N            2
 PIP APP: VPP   04/27/2023 10:33 00    PIP APP: VPP    04/28/2023             PIP APP: VPP              05/01/2023 09:20 00                                                        Admitted       11             N            1
PIP APP: CHCF   04/27/2023 14:23 00   PIP APP: CHCF    04/28/2023            PIP APP: CHCF              05/01/2023 14:25 00                                                        Admitted       11             N            1
PIP APP: CHCF   04/27/2023 14:37 00   PIP APP: CHCF    04/28/2023            PIP APP: CHCF              05/01/2023 16 50 00                                                        Admitted       11             N            1
PIP APP: CHCF   04/28/2023 10:47 00   PIP APP: CHCF    05/01/2023            PIP APP: CHCF              05/02/2023 11 51 00                                                        Admitted       11             N            1
 PIP APP: VPP   05/01/2023 10:10 00    PIP APP: VPP    05/04/2023             PIP APP: VPP              05/08/2023 16:49 00                                                        Admitted       14             N            4
PIP APP: CHCF   05/05/2023 12:17 00   PIP APP: CHCF    05/08/2023            PIP APP: CHCF              05/09/2023 12 08 00                                                        Admitted       14             N            4
PIP APP: CHCF   05/05/2023 10:29 00   PIP APP: CHCF    05/05/2023            PIP APP: CHCF              05/08/2023 12:18 00                                                        Admitted       13             N            3
 PIP APP: VPP   05/05/2023 11 50 00    PIP APP: VPP    05/05/2023             PIP APP: VPP              05/08/2023 09:41 00                                                        Admitted       13             N            3
PIP APP: CHCF   05/05/2023 12:48 00   PIP APP: CHCF    05/10/2023            PIP APP: CHCF              05/11/2023 11:39 00                                                        Admitted       15             N            5
 PIP APP: VPP   05/08/2023 15 50 00    PIP APP: VPP    05/09/2023             PIP APP: VPP              05/10/2023 10 53 00                                                        Admitted       14             N            4
PIP APP: CHCF   05/05/2023 12:19 00   PIP APP: CHCF    05/08/2023            PIP APP: CHCF              05/09/2023 14 09 00                                                        Admitted       13             N            3
PIP APP: CHCF   05/05/2023 13:45 00   PIP APP: CHCF    05/11/2023            PIP APP: CHCF              05/12/2023 15:29 00                                                        Admitted       16             N            6
PIP APP: CHCF   05/05/2023 10 53 00   PIP APP: CHCF    05/08/2023            PIP APP: CHCF              05/10/2023 11 59 00                                                        Admitted       14             N            4
 PIP APP: SQ    05/05/2023 15:16 00    PIP APP: SQ     05/09/2023             PIP APP: SQ               05/10/2023 14:39 00                                                        Admitted       14             N            4
 PIP APP: VPP   05/08/2023 16:13 00    PIP APP: VPP    05/09/2023             PIP APP: VPP              05/10/2023 14:21 00                                                        Admitted       13             N            3
 PIP APP: VPP   05/08/2023 12:19 00    PIP APP: VPP    05/08/2023             PIP APP: VPP              05/09/2023 15 00 00                                                        Admitted       12             N            2
 PIP APP: VPP   05/08/2023 16:38 00    PIP APP: VPP    05/10/2023             PIP APP: VPP              05/11/2023 16:17 00                                                        Admitted       14             N            4
                                                                                                                               EXCEPTION: Out to Hospital; 1 day excepted; 1 day
PIP APP: CHCF   05/08/2023 15 08 00   PIP APP: CHCF    05/09/2023            PIP APP: CHCF              05/10/2023 14:35 00                                                        Admitted       12            N            2
                                                                                                                               over Program Guide Timeframes
 PIP APP: VPP   05/08/2023 14 04 00    PIP APP: VPP    05/09/2023             PIP APP: VPP              05/10/2023 18 05 00                                                        Admitted       12            N            2
PIP APP: CHCF   05/08/2023 15:30 00   PIP APP: CHCF    05/09/2023            PIP APP: CHCF              05/10/2023 10 08 00                                                        Admitted       12            N            2
 PIP APP: VPP   05/09/2023 13:19 00    PIP APP: VPP    05/12/2023             PIP APP: VPP              05/15/2023 15 54 00                                                        Admitted       13            N            3
 PIP APP: VPP   05/09/2023 12 09 00    PIP APP: VPP    05/12/2023             PIP APP: VPP              05/15/2023 15 54 00                                                        Admitted       13            N            3
 PIP APP: VPP   05/09/2023 15:29 00    PIP APP: VPP    05/12/2023             PIP APP: VPP              05/15/2023 17:49 00                                                        Admitted       12            N            2
 PIP APP: VPP   05/10/2023 12:33 00    PIP APP: VPP    05/15/2023             PIP APP: VPP              05/16/2023 15:39 00                                                        Admitted       12            N            2
 PIP APP: VPP   05/10/2023 10:12 00    PIP APP: VPP    05/12/2023             PIP APP: VPP              05/15/2023 18:37 00                                                        Admitted       11            N            1
PIP APP: CHCF   05/11/2023 11:35 00   PIP APP: CHCF    05/12/2023            PIP APP: CHCF              05/15/2023 17 02 00                                                        Admitted       11            N            1
 PIP APP: VPP   05/11/2023 12 04 00    PIP APP: VPP    05/12/2023             PIP APP: VPP              05/15/2023 18:40 00                                                        Admitted       11            N            1
 PIP APP: VPP   05/18/2023 12:16 00    PIP APP: VPP    05/19/2023             PIP APP: VPP              05/22/2023 15:27 00                                                        Admitted       11            N            1
PIP APP: CHCF   05/15/2023 14:11 00
                                      PIP APP: VPP     05/26/2023             PIP APP: VPP              05/30/2023 15 56 00                                                        Admitted       19            N            9
 PIP APP: VPP   05/25/2023 10:21 00
 PIP APP: VPP   05/17/2023 13 09 00    PIP APP: VPP    05/22/2023             PIP APP: VPP              05/23/2023 12:30 00                                                        Admitted       12            N            2
PIP APP: CHCF   05/22/2023 11:41 00   PIP APP: CHCF    05/23/2023            PIP APP: CHCF              05/23/2023 11 53 00                                                        Admitted       11            N            1
 PIP APP: VPP   05/23/2023 13 50 00    PIP APP: VPP    05/26/2023             PIP APP: VPP              05/30/2023 12 50 00                                                        Admitted       14            N            4
 PIP APP: VPP   05/25/2023 16 56 00    PIP APP: VPP    05/26/2023             PIP APP: VPP              05/30/2023 18:44 00                                                        Admitted       14            N            4
PIP APP: CHCF   05/25/2023 15:49 00   PIP APP: CHCF    05/30/2023            PIP APP: CHCF              05/30/2023 12:46 00                                                        Admitted       14            N            4
 PIP APP: SQ    05/25/2023 11:47 00    PIP APP: SQ     05/26/2023             PIP APP: SQ               05/30/2023 13:27 00                                                        Admitted       14            N            4
PIP APP: CHCF   05/26/2023 10:48 00   PIP APP: CHCF    05/30/2023            PIP APP: CHCF              05/30/2023 12:46 00                                                        Admitted       12            N            2
PIP APP: CHCF   05/26/2023 14:39 00   PIP APP: CHCF    05/30/2023            PIP APP: CHCF              05/31/2023 15 03 00                                                        Admitted       13            N            3
PIP APP: CHCF   05/26/2023 11:21 00   PIP APP: CHCF    05/30/2023            PIP APP: CHCF              05/31/2023 15 06 00                                                        Admitted       12            N            2
 PIP APP: VPP   05/25/2023 15:23 00    PIP APP: VPP    05/31/2023             PIP APP: VPP              05/31/2023 11:10 00                                                        Admitted       12            N            2

                                                                                                                               TOTAL DAYS OUT OF COMPLIANCE                                      117
                                                                     DETAIL Of ICF our OF COMPI..IANa

                      Case 2:90-cv-00520-KJM-DB Document
                                                     MAY2023
                                                             7859 Filed 06/15/23 Page 26 of 28


             ......                                                                                 ...   ,   .,


ICf

ICf

ICf
      SQ

      CHCF

      CHCF
              -- --            API'

                              API'

                              API'
                                      3/29/2003

                                      3/28/20'23

                                      1/19/2003
                                                   4/3/211l3

                                                   4/4/211l3
                                                   4/10/2D'23
                                                                4/12/=3

                                                                4/4/2D23

                                                                4/W/20'23
                                                                                                lJnjoci<edDonns
                                                                                                Unlociced Domts
                                                                                                   Single Cell
                                                                                                Multi Pason C.ell
                                                                                                   SincJe~ •
                                                                                                                    04/12/m'B
                                                                                                                    05/Q4/2JJ'23
                                                                                                                    04/04/2003
                                                                                                                    05/03/2D'23
                                                                                                                    '!4/l0/"10_'23
                                                                                                                                     ICf.-1-fij:h CHCF
                                                                                                                                     l~CHCF
                                                                                                                                     ICf.-High CHCF
                                                                                                                                     la=--High CHCF
                                                                                                                                     !Cf.Hip> CHCF
                                                                                                                                                         04/12/=3 13 52 00
                                                                                                                                                         ffi/04~140500
                                                                                                                                                         04/04/20'23 15 20 00
                                                                                                                                                         05/03/2003 15 33 00
                                                                                                                                                            1/J/20'23 13 42 00
                                                                                           DETAIL OF ICF OUT OF COMPLIANCE
                                                                         MAY 2023
                                          Case 2:90-cv-00520-KJM-DB Document      7859 Filed 06/15/23 Page 27 of 28

                                                                                                                                                                                                 Days from        Within     Days over
      HCPOP                    HCPOP              Accepting      Date Placed
                                                                                                                  Inpatient Program                      Comments for                 Referral   Referral to     Program      Program
   Endorsement              Endorsement           Inpatient      on Accepted      Inpatient Program Admitted
                                                                                                                   Admit Date/Time                     DELAY/EXCEPTION                 Status    MH IRU and       Guide        Guide
     Location                Date/Time            Program        Referrals List
                                                                                                                                                                                                 Admission     Timeframes   Timeframes

ICF-High SVPP (Single)   04/21/2023 15 57 00
                                                 ICF-High CHCF    05/08/2023            ICF-High CHCF            05/09/2023 12 33 00                                                  Admitted       36            N            6
    ICF-High CHCF        05/04/2023 14 05 00
ICF-High SVPP (Single)   04/26/2023 11 08 00                                                                                           EXCEPTION: Out to Hospital; 1 day excepted
                                                 ICF-High CHCF    05/05/2023            ICF-High CHCF            05/05/2023 12 13 00                                                  Admitted       31            N            1
    ICF-High CHCF        05/03/2023 15 33 00
    ICF-High CHCF        04/28/2023 14 40 00     ICF-High CHCF    05/02/2023            ICF-High CHCF            05/19/2023 19 17 00   EXCEPTION: Medical Exception 9 days excepted   Admitted       39            N            9

                                                                                                                                       TOTAL DAYS OUT OF COMPLIANCE                                   6
     Case 2:90-cv-00520-KJM-DB Document 7859 Filed 06/15/23 Page 28 of 28



                              CERTIFICATE OF SERVICE
Case Name:      Coleman v. Newsom, et al.,               No.    2:90-cv-00520 KJM-DB (PC)

I hereby certify that on June 15, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
DEFENDANTS’ CENSUS, WAITLISTS, AND TRANSFER TIMELINES COMPLIANCE
REPORTS FOR INPATIENT MENTAL HEALTH CARE
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on June 15,
2023, at Sacramento, California.


                T. Farster                                         /s/ T. Farster
           Declarant for eFiling                                     Signature

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
June 15, 2023, the foregoing document(s) have been mailed in the Office of the Attorney
General's internal mail system, by First-Class Mail, postage prepaid, or have dispatched it to a
third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants.

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on June 15,
2023, at Sacramento, California.

               I. Martinez                                        /s/ I. Martinez
   Declarant for Service by U.S. Mail                                Signature

CF1997CS0003
37268933.docx
